Case 1:20-cv-00984-WCB         Document 363    Filed 09/24/24    Page 1 of 4 PageID #: 14407




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   PROLITEC INC.,

                Plaintiff/Counterclaim-
                Defendant,                        C.A. No. 20-984-WCB

         v.                                       PUBLIC VERSION FILED
                                                  September 24, 2024
   SCENTAIR TECHNOLOGIES, LLC,

                Defendant/Counterclaim-
                Plaintiff

              LETTER TO THE HONORABLE WILLIAM C. BRYSON
           FROM STEVEN L. CAPONI, ESQ. REGARDING SCENTAIR’S
     REPLY IN SUPPORT OF ITS MOTION TO STRIKE PORTIONS OF DR. CORY
                         PLOCK’S REPLY REPORT

   Dated: September 17, 2024                  K&L GATES LLP

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                                              1
Case 1:20-cv-00984-WCB          Document 363        Filed 09/24/24      Page 2 of 4 PageID #: 14408




  Dear Judge Bryson:
           Prolitec’s response letter (D.I. 358) does not dispute that Dr. Plock’s opinions are new but
  argues two justifications for their belated disclosure: late discovery of
  and Prolitec’s surprise about Mr. Dezmelyk’s invalidity rebuttal opinions. Neither holds up under
  scrutiny. In short, Dr. Plock’s new opinions are an improper attempt to add new theories to back
  fill Prolitec’s weak invalidity positions. Dr. Plock’s new opinions should be stricken.

          Late Discovery of                                 Cannot Justify Prolitec’s Rework of its
          Obviousness Case

          Despite the parties’ late discovery of                                Prolitec and Dr. Plock
  still were able to provide twenty-seven pages of analysis of
  in Dr. Plock’s Opening Report regarding the on-sale bar. Prolitec does not adequately explain how
  it was able to do that but was somehow unable to provide the additional six paragraphs 1 of Dr.
  Plock’s Reply Report to use those same documents as part of his obviousness theories. Because
  the timing of the production of                                             clearly did not prejudice
  Prolitec’s ability to analyze those documents for invalidity purposes, the timing cannot now justify
  Prolitec’s fourfold expansion of its invalidity case in reply.

          There also was no bad faith in ScentAir’s production of the documents. Any alleged delay
  in providing                                          was the result of normal business activities,
  reflecting a project that occurred over ten years ago, intervening business reorganizations at
  ScentAir, and departing employees. In short,                                was discovered during
  the depositions of the inventors on the ‘388 Patent, both of whom left ScentAir years before this
  lawsuit was filed (along with every other ScentAir employee who had worked on or had direct
  knowledge of                                and                              occurred years before
  that. ScentAir’s counsel learned of                              at the same time Prolitec did, and
  ScentAir produced the documents as quickly as it could thereafter.

          Prolitec is also wrong to identify ScentAir’s contention interrogatory response relating to
  its invalidity rebuttal positions as “boilerplate statements.” See D.I. 358 at 1. For one, ScentAir
  committed during a meet-and-confer to provide an equal amount of detail in its interrogatory
  response as Prolitec had provided in its broad and noncommittal invalidity contentions in effect at
  the time. To the extent there is any vagueness in ScentAir’s interrogatory response, it is due solely
  to the complementary vagueness in Prolitec’s invalidity contentions. Regardless, ScentAir’s
  responses still identify specific prior art as missing specific limitations, which was not “repeated
  for every limitation,” as Prolitec wrongly argues. See, e.g., D.I. 358, Exhibit B at 105 (listing
  Messager, Hamada, Samain 2, Yamada, and WebCTRL as failing to teach 1[b][i] while only listing
  Hamada, Contadini, and WebCTRL as failing to teach 1[b][ii]). To the extent Prolitec desired
  more detail at that time, it could have—but did not—request additional detail, or it could have—
  but did not—provide more detail in its own invalidity contentions. Having done neither, Prolitec
  cannot blame ScentAir, especially where Prolitec has the burden of proof. For that same reason,
  Prolitec cannot be heard to complain about ScentAir not having supplemented its interrogatory
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      ScentAir does not discuss the sufficiency of Dr. Plock’s analysis of
                    as an obviousness ground and reserves that discussion for dispositive motions
      practice, if necessary.


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Case 1:20-cv-00984-WCB           Document 363        Filed 09/24/24       Page 3 of 4 PageID #: 14409




  responses when Prolitec similarly has not supplemented its invalidity contentions. To the extent
  the Court wants the parties to supplement their complementary discovery positions, ScentAir is
  happy to do so in response to Prolitec’s supplementation. Regardless, however, ScentAir is in the
  process of reviewing its interrogatory responses and will supplement any, to the extent necessary,
  subject to its ongoing obligations under Rule 26(e).

         Dr. Plock’s New Opinions Are Not Responsive to Mr. Dezmelyk’s Rebuttal Report,
         Which Did Not Raise any “Novel Rebuttal Arguments” but Only Foreseeable Ones

          Prolitec fails to adequately show how Dr. Plock’s new opinions are responsive to Mr.
  Dezmelyk’s Rebuttal Report. During the meet-and-confer that precipitated ScentAir’s letter brief,
  Prolitec provided two justifications for Dr. Plock’s new combinations: (1) the subject matter of
                                            was disclosed in Dr. Plock’s Opening Report, and (2) Dr.
  Plock’s new obviousness grounds are responsive to Mr. Dezmelyk’s opinions related to the “in
  table” and “out table.” Prolitec’s letter brief makes up a third reason: that the combinations are
  responsive to Mr. Dezmelyk’s position—related to on-sale bar—that
               did not disclose a “networked” device. See D.I. 358 at 1. But that third reason fails
  just the same as the other two (discussed in ScentAir’s opening letter brief) because the
  “networked” dispute is constrained to the on-sale bar and thus cannot justify the addition of new
  obviousness theories. In particular, Mr. Dezmelyk never argued that any prior art reference used
  in Dr. Plock’s original obviousness theories lacked a “networked” scent delivery device. See D.I.
  354, Ex. 2 ¶¶ 58–128. And Dr. Plock is not now using his new obviousness theories to provide a
  “networked” scent delivery device into a gap left by the prior art references. Instead, Dr. Plock’s
  new combination relates to whether the prior art discloses separate in and out tables. See D.I. 354,
  Ex. 3 ¶ 126.

          Prolitec also fails to justify Dr. Plock’s new obviousness theories in paragraph 119 and
  121–135 as responsive to the “novel rebuttal argument” that the prior art fails to disclose separate
  in and out tables. D.I. 358 at 3 (citing D.I. 356, Ex. 3 ¶ 119). For this to be true, Prolitec would
  have to admit that it did not anticipate a plain reading of the claim language: “the central controller
  stores an in table … and an out table.” ‘388 Patent, cl. 1. Such position is not credible and, in any
  event, cannot justify Dr. Plock’s new theories.

          Finally, while Prolitec complains about ScentAir overinflating the number of Dr. Plock’s
  new obviousness theories (D.I. 348 at 3–4), Prolitec does not tell the Court how many
  combinations beyond its original eight it now has. That is because Prolitec wants the benefit of
  all possible combinations, highlighting the prejudice of Prolitec’s “ambush by reply” tactics. See,
  e.g., D.I. 354, Ex. 3 ¶ 127.

          In sum, Prolitec and Dr. Plock could have argued obviousness based on
                        in Dr. Plock’s Opening Report. Prolitec and Dr. Plock also could have
  argued—per the plain and ordinary reading of the claim language—that “in table” and “out table”
  are different tables. Prolitec and Dr. Plock did neither. Both should be held to that strategic
  decision, and ScentAir should not have to face the prejudice of defending an entirely new invalidity
  case that is four times the size it was before. The Court should strike Dr. Plock’s new opinions in
  full.



                                                    2
Case 1:20-cv-00984-WCB          Document 363      Filed 09/24/24   Page 4 of 4 PageID #: 14410




  Respectfully submitted,

  /s/ Steven L. Caponi

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  cc:    All counsel of record (Via Electronic Mail)




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